USDC IN/ND case 3:91-cr-00002-RLM       document 681    filed 06/14/05   page 1 of 2


                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


UNITED STATES OF AMERICA                 )
                                         )
            vs.                          )       CAUSE NO. 3:91-CR-2 RM
                                         )
JAMES CLETIS SEGARS (01)                 )


                              OPINION and ORDER

      James Segars has filed a “Motion to Dismiss for Lack of Jurisdiction and/or

Void Excess Sentence,” wherein he requests that “any sentence in excess of the

maximum sentence of 16 months” be vacated. Mr. Segars claims recent Supreme

Court rulings rendered this court without jurisdiction or authority to impose a

sentence in excess of sixteen months.

      Although Mr. Segars captions his filing as a “motion to dismiss,” his request

to have his sentence vacated, set aside, or corrected is, in fact, a motion made

pursuant to 28 U.S.C. § 2255. Because Mr. Segars’ original petition filed pursuant

to 28 U.S.C. § 2255 was denied, and the denial affirmed on appeal, see Segars v.

United States, No. 01-1251, 2001 WL 747587 (7th Cir. Jul. 2, 2001), his current

filing must be considered to be a second or successive petition under § 2255. 28

U.S.C. § 2244 provides that before a second or successive motion is filed with the

district court, “the applicant shall move in the appropriate court of appeals for an

order authorizing the district court to consider the application.”

      Accordingly, Mr. Segars’ motion to vacate his sentence [filed June 13, 2005]

is DENIED as not properly before this court.
USDC IN/ND case 3:91-cr-00002-RLM   document 681   filed 06/14/05   page 2 of 2


      SO ORDERED.

      ENTERED:    June 14, 2005



                             /s/ Robert L. Miller, Jr.
                            Chief Judge
                            United States District Court


cc:   J. Segars




                                     2
